                                               United States Bankruptcy Court
                                                 Northern District of Ohio
In re:                                                                                                     Case No. 17-14920-aih
Richard McKay Osborne, Jr                                                                                  Chapter 7
Tricia A. Osborne
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0647-1                  User: athre                        Page 1 of 1                          Date Rcvd: Jan 29, 2018
                                      Form ID: pdf801                    Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 31, 2018.
db/db         #+Richard McKay Osborne, Jr,   Tricia A. Osborne,   9050 Jackson Street,    Mentor, OH 44060-4437
cr             +Daniel Biondolillo,   c/o Stuart A. Laven, Jr., Esq.,   Cavitch Familo & Durkin Co., LPA,
                 1300 East Ninth Street,   20th Floor,   Cleveland, OH 44114-1501
cr             +Maple Valley Estates, LLC,   7670 Tyler Blvd.,   Mentor, OH 44060-4853
cr             +Ohio Bureau Of Workers Compensation,   246 North High Street,   Columbus, OH 43215-2406
cr             +Ohio Department of Commerce,   Ohio Attorney General’s Office,    30 East Broad Street,
                 23rd Floor,   Columbus, OH 43215-3414

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Jan 29 2018 22:01:16
                 PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                 THE HUNTINGTON NATIONAL BANK
*                 +Richard McKay Osborne, Jr.,   9050 Jackson St.,   Mentor, OH 44060-4437
                                                                                                                    TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 31, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 29, 2018 at the address(es) listed below:
              Adam S. Baker   on behalf of Creditor    Maple Valley Estates, LLC abakerlaw@sbcglobal.net,
               adam@bakerlaw.us;abakerlaw@gmail.com
              David O. Simon, Trustee    on behalf of Trustee David O. Simon, Trustee david@simonlpa.com,
               dosimon@ecf.epiqsystems.com
              David O. Simon, Trustee    david@simonlpa.com, dosimon@ecf.epiqsystems.com
              Heather L. Moseman    on behalf of Defendant Richard McKay Osborne, Jr heather@mosemanlaw.com,
               admin@mosemanlaw.com
              Heather L. Moseman    on behalf of Debtor Tricia A. Osborne heather@mosemanlaw.com,
               admin@mosemanlaw.com
              Heather L. Moseman    on behalf of Debtor Richard McKay Osborne, Jr heather@mosemanlaw.com,
               admin@mosemanlaw.com
              Michael David Allen    on behalf of Creditor   Ohio Department of Commerce
               michael.allen@ohioattorneygeneral.gov
              Patricia L. Johnson    on behalf of Creditor   THE HUNTINGTON NATIONAL BANK
               bankruptcies@gernerlaw.com
              Stuart A. Laven    on behalf of Creditor Daniel Biondolillo slaven@cavitch.com
              Stuart A. Laven    on behalf of Plaintiff Daniel Biondolillo slaven@cavitch.com
              Timothy M. Sullivan    on behalf of Creditor   Ohio Bureau Of Workers Compensation tim@tmslaw.net,
               crystal@tmslaw.net
                                                                                             TOTAL: 11




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  The court incorporates by reference in this paragraph and adopts as the findings
  and orders of this court the document set forth below. This document was signed
  electronically on January 29, 2018, which may be different from its entry on the record.



  IT IS SO ORDERED.                                   ENTERED UNDER ADMINISTRATIVE
                                                      ORDER NO. 02-10: TERESA D. UNDERWOOD,
                                                      CLERK OF COURT
                                                      BY: ____________________________
                                                          /s/ A. A. Threatt
  Dated: January 29, 2018                                 Deputy Clerk

                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

     In re:                                      ) Case No. 17-14920
                                                 )
     Richard McKay, Jr., & Tricia Osborne,       ) Judge Arthur I. Harris
                                                 )
                            Debtors.             ) Chapter 7 Case

         ORDER DIRECTING DEBTOR, RICHARD MCKAY OSBORNE, JR., TO
           APPEAR FOR EXAMINATION PURSUANT TO RULE 2004(a) OF
        THE FEDERAL RULES OF BANKRUPTCY PROCEDURE, DUCES TECUM

              This matter came on for consideration upon the trustee’s Motion for Order Upon

     the Debtor, Richard McKay Osborne, Jr., to Appear for Examination Pursuant to Rule

     2004(a) of the Bankruptcy Rules.

              IT APPEARING to the Court that the motion is well-taken and should be granted.

              IT IS, THEREFORE, ORDERED that the trustee’s motion is hereby granted and

     the debtor is directed to appear for examination on the 2nd day of February, 2018, at 9:30

     a.m. in the office of David O. Simon, trustee, 55 Public Square, Suite 2100, Cleveland,

     OH 44113, and to bring with him copies of all documentation regarding the sale of a




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     “gold blob” for $69,000.00, the debtor’s receipt of the sale proceeds and the debtor’s

     disposition of the sale proceeds, including the banking records of Osborne Real Estate

     Services, LLC, the alleged recipient of a portion of the proceeds.

                                                ###


     Submitted by:

     /s/ David O. Simon
     ______________________________
     David O. Simon, Trustee
     55 Public Square, Suite 2100
     Cleveland, OH 44113-1902
     (216) 621-6201; Fax: (888) 467-4181
     david@simonlpa.com


     Service:

     David O. Simon, Trustee (ECF)
     Heather Moseman, Esq., (ECF)

     Richard McKay Osborne, Jr.
     9050 Jackson St.
     Mentor, OH 44060




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